                 Case 1:22-cv-01431-WJM Document 1-1 Filed 06/07/22 USDC Colorado Page 1 of 1
DM 33 )LXi- /3.10*                                                         28F8< 2?F4B C744D
N[X DM 33 V\i\_ VbiXe f[XXg TaW g[X \aYbe`Tg\ba VbagT\aXW [XeX\a aX\g[Xe eXc_TVX abe fhcc_X`Xag g[X Y\_\aZ TaW fXei\VX bY c_XTW\aZf be bg[Xe cTcXef Tf eXdh\eXW Ul _Tj+ XkVXcg Tf
cebi\WXW Ul _bVT_ eh_Xf bY Vbheg- N[\f Ybe`+ TccebiXW Ul g[X DhW\V\T_ =baYXeXaVX bY g[X Oa\gXW MgTgXf \a MXcgX`UXe 0863+ \f eXdh\eXW Ybe g[X hfX bY g[X =_Xe^ bY =bheg Ybe g[X
checbfX bY \a\g\Tg\aZ g[X V\i\_ WbV^Xg f[XXg- &<// 37<=;>-=387< 87 7/?= 9+1/ 80 =23< 08;6)'
C- 'J( @<08>D855C                                                                                           3454>30>DC
           Thomas A. Archipley II on behalf of the Thomas E. Archipley                                             Telluride Council for the Arts and Humanities d/b/a Telluride
           GST Trust Agreement f/b/o Thomas A. Archipley II.                                                       Arts, a Colorado nonprofit corporation.
    'K( =bhagl bY LXf\WXaVX bY @\efg F\fgXW J_T\ag\YY Ingham County, MI                                     =bhagl bY LXf\WXaVX bY @\efg F\fgXW >XYXaWTag                San Miguel County, CO
                                  &/?-/9= 37 >)<) 95+37=300 -+</<'                                                                 &37 >)<) 95+37=300 -+</< 875@'
                                                                                                            HIN?9      CH F;H> =IH>?GH;NCIH =;M?M+ OM? NB? FI=;NCIH I@
                                                                                                                       NB? NL;=N I@ F;H> CHPIFP?>-

    'L( ;ggbeaXlf &0HNJ 7AJE( +DDNEOO( AKD =EIEMGLKE 7QJBEN'                                                 ;ggbeaXlf &3F 4KLSK'
                Andrew L. W. Peters
                Otten, Johnson, Robinson, Neff & Ragonetti, P.C.
                950 17th Street, Suite 1600, Denver, CO 80202
                Telephone: 303 825 8400
88* 10C8C ?5 9EB8C382D8?> &9IACE AK W?X HK 8KE ,LT 8KIU'                                        888* 28D8I4>C78@ ?5 @B8>28@0< @0BD84C &9IACE AK W?X HK 8KE ,LT FLN 9IAHKPHFF
                                                                                                         &0LN .HRENOHPU -AOEO 8KIU'                                     AKD 8KE ,LT FLN .EFEKDAKP'
    0    O-M- AbiXea`Xag                  2   @XWXeT_ KhXfg\ba                                                                    @D5          345                                        @D5      345
           J_T\ag\YY                            &>)<) 1LRENKJEKP 7LP A 9ANPU'                      =\g\mXa bY N[\f MgTgX            0            0     CaVbecbeTgXW LN Je\aV\cT_ J_TVX         3 X 3
                                                                                                                                                         bY <hf\aXff Ca N[\f MgTgX

    1    O-M- AbiXea`Xag              X   3   >\iXef\gl                                            =\g\mXa bY ;abg[Xe MgTgX          X   1         1   CaVbecbeTgXW AKD Je\aV\cT_ J_TVX           4         4
           >XYXaWTag                            &3KDHCAPE -HPHVEKOGHM LF 9ANPHEO HK 3PEJ 333'                                                            bY <hf\aXff Ca ;abg[Xe MgTgX

                                                                                                   =\g\mXa be MhU]XVg bY T               2         2   @beX\Za HTg\ba                             5         5
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8F* >0DEB4 ?5 CE8D &9IACE AK W?X HK 8KE ,LT 8KIU'                                                                                        =_\V^ [XeX Ybe9 HTgheX bY Mh\g =bWX >XfVe\cg\baf-
            2?>DB02D                                               D?BDC                             5?B548DEB4+@4>0<DH                         10>;BE@D2H                      ?D74B CD0DED4C
    00/ CafheTaVX                      @4BC?>0< 8>9EBH              @4BC?>0< 8>9EBH                   514 >ehZ LX_TgXW MX\mheX               311 ;ccXT_ 17 OM= 047            264 @T_fX =_T\`f ;Vg
    01/ GTe\aX                         20/ ;\ec_TaX                254 JXefbaT_ Ca]hel ,                  bY JebcXegl 10 OM= 770             312 Q\g[WeTjT_                   265 Kh\ NT` )20 OM=
    02/ G\__Xe ;Vg                     204 ;\ec_TaX JebWhVg            JebWhVg F\TU\_\gl              58/ Ig[Xe                                  17 OM= 046                       2618)T**
    03/ HXZbg\TU_X Cafgeh`Xag               F\TU\_\gl              256 BXT_g[ =TeX.                                                            8>D4<<42DE0<                   3// MgTgX LXTccbeg\ba`Xag
    04/ LXVbiXel bY IiXecTl`Xag        21/ ;ffTh_g+ F\UX_ (            J[Te`TVXhg\VT_                                                        @B?@4BDH B867DC                  30/ ;ag\gehfg
        ( ?aYbeVX`Xag bY DhWZ`Xag           M_TaWXe                    JXefbaT_ Ca]hel                                                       71/ =bcle\Z[gf                   32/ <Ta^f TaW <Ta^\aZ
    040 GXW\VTeX ;Vg                   22/ @XWXeT_ ?`c_blXefn          JebWhVg F\TU\_\gl                                                     72/ JTgXag                       34/ =b``XeVX
    041 LXVbiXel bY >XYTh_gXW               F\TU\_\gl              257 ;fUXfgbf JXefbaT_                                                     724 JTgXag , ;UUeXi\TgXW         35/ >XcbegTg\ba
         MghWXag FbTaf                 23/ GTe\aX                      Ca]hel JebWhVg                                                            HXj >ehZ ;cc_\VTg\ba         36/ LTV^XgXXe CaY_hXaVXW TaW
         )?kV_hWXf PXgXeTaf*           234 GTe\aX JebWhVg              F\TU\_\gl                                                             73/ NeTWX`Te^                        =beehcg IeZTa\mTg\baf
    042 LXVbiXel bY IiXecTl`Xag             F\TU\_\gl             @4BC?>0< @B?@4BDH                            <01?B                         77/ >XYXaW NeTWX MXVeXgf         37/ =bafh`Xe =eXW\g
        bY PXgXeTanf <XaXY\gf          24/ Gbgbe PX[\V_X           26/ Ig[Xe @eThW                    60/ @T\e FTUbe MgTaWTeWf                   ;Vg bY 1/05                      )04 OM= 0570 be 0581*
    05/ MgbV^[b_WXefn Mh\gf            244 Gbgbe PX[\V_X           260 Nehg[ \a FXaW\aZ                   ;Vg                                                                 374 NX_Xc[baX =bafh`Xe
    08/ Ig[Xe =bageTVg                     JebWhVg F\TU\_\gl       27/ Ig[Xe JXefbaT_                 61/ FTUbe.GTaTZX`Xag                   C?280< C42EB8DH                      JebgXVg\ba ;Vg
    084 =bageTVg JebWhVg F\TU\_\gl     25/ Ig[Xe JXefbaT_              JebcXegl >T`TZX                    LX_Tg\baf                          750 BC; )0284YY*                 38/ =TU_X.MTg NP
    085 @eTaV[\fX                          Ca]hel                  274 JebcXegl >T`TZX                63/ LT\_jTl FTUbe ;Vg                  751 <_TV^ FhaZ )812*             74/ MXVhe\g\Xf.=b``bW\g\Xf.
                                       251 JXefbaT_ Ca]hel ,           JebWhVg F\TU\_\gl              640 @T`\_l TaW GXW\VT_                 752 >CQ=.>CQQ )3/4)Z**               ?kV[TaZX
                                           GXW\VT_ GT_ceTVg\VX                                            FXTiX ;Vg                          753 MMC> N\g_X RPC               78/ Ig[Xe MgTghgbel ;Vg\baf
        B40< @B?@4BDH                    28F8< B867DC             @B8C?>4B @4D8D8?>C                  68/ Ig[Xe FTUbe F\g\ZTg\ba             754 LMC )3/4)Z**                 780 ;Ze\Vh_gheT_ ;Vgf
    10/ FTaW =baWX`aTg\ba              33/ Ig[Xe =\i\_ L\Z[gf      7JKNJ\ 2X[Y^\.                     680 ?`c_blXX LXg\eX`Xag                                                 782 ?ai\eba`XagT_ GTggXef
    11/ @beXV_bfheX                    330 Pbg\aZ                  352 ;_\Xa >XgT\aXX                     CaVb`X MXVhe\gl ;Vg                5434B0< D0G CE8DC                784 @eXXWb` bY CaYbe`Tg\ba
    12/ LXag FXTfX ( ?]XVg`Xag         331 ?`c_bl`Xag              40/ Gbg\baf gb PTVTgX                                                     76/ NTkXf )O-M- J_T\ag\YY            ;Vg
X   13/ Nbegf gb FTaW                  332 Bbhf\aZ.                    MXagXaVX                                                                   be >XYXaWTag*               785 ;eU\geTg\ba
    134 Nbeg JebWhVg F\TU\_\gl             ;VVb``bWTg\baf          42/ AXaXeT_                                                               760 CLMpN[\eW JTegl              788 ;W`\a\fgeTg\iX JebVXWheX
    18/ ;__ Ig[Xe LXT_ JebcXegl        334 ;`Xe- j.>\fTU\_\g\Xf ,  424 >XTg[ JXaT_gl                      8==86B0D8?>                             15 OM= 65/8                     ;Vg.LXi\Xj be ;ccXT_ bY
                                           ?`c_bl`Xag              ?]QN[.                             351 HTgheT_\mTg\ba ;cc_\VTg\ba                                              ;ZXaVl >XV\f\ba
                                       335 ;`Xe- j.>\fTU\_\g\Xf ,  43/ GTaWT`hf ( Ig[Xe               354 Ig[Xe C``\ZeTg\ba                                                   84/ =bafg\ghg\baT_\gl bY
                                           Ig[Xe                   44/ =\i\_ L\Z[gf                       ;Vg\baf                                                                 MgTgX MgTghgXf
                                       337 ?WhVTg\ba               444 Je\fba =baW\g\ba
                                                                   45/ =\i\_ >XgT\aXX ,
                                                                       =baW\g\baf bY
                                                                       =baY\aX`Xag
F* ?B868> &9IACE AK W?X HK 8KE ,LT 8KIU'
X 0 Ie\Z\aT_               1 LX`biXW Yeb`                      2    LX`TaWXW Yeb`                3 LX\afgTgXW be             4 NeTafYXeeXW Yeb`      5 Gh_g\W\fge\Vg                      7 Gh_g\W\fge\Vg
         JebVXXW\aZ          MgTgX =bheg                            ;ccX__TgX =bheg                LXbcXaXW                    ;abg[Xe >\fge\Vg          F\g\ZTg\ba ,                       F\g\ZTg\ba ,
                                                                                                                               &OMECHFU'                 NeTafYXe                           >\eXVg @\_X
                                          =\gX g[X O-M- =\i\_ MgTghgX haWXe j[\V[ lbh TeX Y\_\aZ &'0 /03 ),3+ -41,2*,)3,0/(. 23(343+2 4/.+22 *,5+12,36'9
                        28 U.S.C. § 1332(a)
F8* 20EC4 ?5 02D8?> <e\XY WXfVe\cg\ba bY VThfX9
                       Action to abate private and public nuisance.
F88* B4AE4CD43 8>       =B?=E C@ NBCM CM ; 2<0CC 02D8?>        34=0>3 & In the alternative,    =B?=E S?M ba_l \Y WX`TaWXW \a Vb`c_T\ag9
     2?=@<08>D.         OH>?L LOF? 12+ @-L-=i-J-                        to be proven at trial. 9EBH 34=0>3.           SXf     X Hb
F888* B4<0D43 20C4'C(                                                                                       2022CV030021, District Court,
                      &<EE HKOPNQCPHLKO'*
      85 0>H                                DO>A?  TBD                                   >I=E?N HOG<?L San Miguel County, Colorado
>;N?                                                                    MCAH;NOL? I@ ;NNILH?S I@ L?=IL>
        06/07/2022                                                          /s/ Andrew L.W. Peters
5?B ?55824 EC4 ?><H

    L?=?CJN '                     ;GIOHN                                     ;JJFSCHA C@J                                    DO>A?                             G;A- DO>A?
